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                                                         United States District Court
                                                        Western District of Washington




        LLOYD EVAN BRADOW D/B/A PENINSULA                                       Case Number: 2:19-cv-00577
        CONTRACTING AND ROOFING, et al.

         WůĂŝŶƟī;ƐͿ                                                             APPLICATION FOR LEAVE TO APPEAR
                                                                                PRO HAC VICE
         V.

        CEDAR SHAKE & SHINGLE BUREAU, et al.


         ĞĨĞŶĚĂŶƚ;ƐͿ

       WƵƌƐƵĂŶƚƚŽ>Zϴϯ͘ϭ;ĚͿŽĨƚŚĞhŶŝƚĞĚ^ƚĂƚĞƐŝƐƚƌŝĐƚŽƵƌƚĨŽƌƚŚĞtĞƐƚĞƌŶŝƐƚƌŝĐƚŽĨtĂƐŚŝŶŐƚŽŶ͕
         James J. Pizzirusso
                                                  ŚĞƌĞďǇĂƉƉůŝĞƐĨŽƌƉĞƌŵŝƐƐŝŽŶƚŽĂƉƉĞĂƌĂŶĚƉĂƌƟĐŝƉĂƚĞĂƐ
       ĐŽƵŶƐĞůŝŶƚŚĞĂďŽǀĞĞŶƟƚůĞĚĂĐƟŽŶŽŶďĞŚĂůĨŽĨƚŚĞĨŽůůŽǁŝŶŐƉĂƌƚǇŽƌƉĂƌƟĞƐ͗
         Plaintiff, Lloyd Evan Bradow d/b/a Peninsula Contracting and Roofing, individually and on behalf of
         all other similarly situated.

       dŚĞƉĂƌƟĐƵůĂƌŶĞĞĚĨŽƌŵǇĂƉƉĞĂƌĂŶĐĞĂŶĚƉĂƌƟĐŝƉĂƟŽŶŝƐ͗

         My knowledge of the plaintiff's claims and causes of action.




       /͕ James J. Pizzirusso                                         ƵŶĚĞƌƐƚĂŶĚƚŚĂƚ/ĂŵĐŚĂƌŐĞĚǁŝƚŚŬŶŽǁŝŶŐĂŶĚĐŽŵƉůǇŝŶŐǁŝƚŚ
       all applicable local rules;

       /ŚĂǀĞŶŽƚďĞĞŶĚŝƐďĂƌƌĞĚŽƌĨŽƌŵĂůůǇĐĞŶƐƵƌĞĚďǇĂĐŽƵƌƚŽĨƌĞĐŽƌĚŽƌďǇĂƐƚĂƚĞďĂƌĂƐƐŽĐŝĂƟŽŶ͖ĂŶĚƚŚĞƌĞĂƌĞ
       not disciplinary proceedings against me.

       I declare under penalty of perjury that the foregoing is true and correct.


               04/17/2019
       Date:                                                          Signature of Applicant: s/ James J. Pizzirusso



ttͲƉƉůŝĐĂƟŽŶĨŽƌ>ĞĂǀĞƚŽƉƉĞĂƌWƌŽ,ĂĐsŝĐĞ;ZĞǀŝƐĞĚϭϭͬϮϭͬϮϬϭϳͿ   Page - 1 of 3
                              Case 2:19-cv-00577-MJP Document 4 Filed 04/17/19 Page 2 of 3



     WƌŽ,ĂĐsŝĐĞƩŽƌŶĞǇ
                                               James J. Pizzirusso
     Applicant's Name:
                                               HAUSFELD
     >Ăǁ&ŝƌŵEĂŵĞ͗
                                               1700 K Street
     Street Address 1:
                                               Suite 650
     Address Line 2:
              Washington                                                                             20006
     City:                                                                State: DC          Zip:
                                    (202) 540-7200                                          477604
     WŚŽŶĞEƵŵďĞƌǁͬƌĞĂŽĚĞ                                                  Bar #                    State DC
     Primary E-mail Address: jpizzirusso@hausfeld.com
     ;WƌŝŵĂƌǇͲDĂŝůĂĚĚƌĞƐƐŵƵƐƚďĞĨŽƌƚŚĞWƌŽ,ĂĐĂƩŽƌŶĞǇĂŶĚŶŽƚĂŶǇƐƵďŽƌĚŝŶĂƚĞŽƌƐƚĂīŵĞŵďĞƌͿ

     Secondary E-mail Address:



                                                    STATEMENT OF LOCAL COUNSEL

     /ĂŵĂƵƚŚŽƌŝǌĞĚĂŶĚǁŝůůďĞƉƌĞƉĂƌĞĚƚŽŚĂŶĚůĞƚŚŝƐŵĂƩĞƌ͕ŝŶĐůƵĚŝŶŐƚƌŝĂů͕ŝŶƚŚĞĞǀĞŶƚƚŚĞ
     applicant James J. Pizzirusso                                      is unable to be present upon any date
     assigned by the court.
               04/17/2019
     Date:                                      Signature of Local Counsel: s/ Kim D. Stephens
                                               Kim D. Stephens
     Local Counsel's Name:
                                               TOUSLEY BRAIN STEPHENS PLLC
     >Ăǁ&ŝƌŵEĂŵĞ͗
                                               1700 7th Avenue
     Street Address 1:
                                               Suite 2200
     Address Line 2:
              Seattle                                                              WA                98101
     City:                                                                State:             Zip:
                                                  (206) 682-5600                            11984
     WŚŽŶĞEƵŵďĞƌǁͬƌĞĂŽĚĞ                                                  Bar #




ttͲƉƉůŝĐĂƟŽŶĨŽƌ>ĞĂǀĞƚŽƉƉĞĂƌWƌŽ,ĂĐsŝĐĞ;ZĞǀŝƐĞĚϭϭͬϮϭͬϮϬϭϳͿ   Page - 2 of 3
                                Case 2:19-cv-00577-MJP Document 4 Filed 04/17/19 Page 3 of 3




                                                  ůĞĐƚƌŽŶŝĐĂƐĞ&ŝůŝŶŐŐƌĞĞŵĞŶƚ




            ǇƐƵďŵŝƫŶŐƚŚŝƐĨŽƌŵ͕ƚŚĞƵŶĚĞƌƐŝŐŶĞĚƵŶĚĞƌƐƚĂŶĚƐĂŶĚĂŐƌĞĞƐƚŽƚŚĞĨŽůůŽǁŝŶŐ͗

       1. dŚĞDͬ&ƐǇƐƚĞŵŝƐƚŽďĞƵƐĞĚĨŽƌĮůŝŶŐĂŶĚƌĞǀŝĞǁŝŶŐĞůĞĐƚƌŽŶŝĐĚŽĐƵŵĞŶƚƐ͕ĚŽĐŬĞƚƐŚĞĞƚƐ͕ĂŶĚŶŽƟĐĞƐ͘

       2. dŚĞƉĂƐƐǁŽƌĚŝƐƐƵĞĚƚŽǇŽƵďǇƚŚĞĐŽƵƌƚ͕ĐŽŵďŝŶĞĚǁŝƚŚǇŽƵƌůŽŐŝŶ͕ƐĞƌǀĞƐĂƐǇŽƵƌƐŝŐŶĂƚƵƌĞƵŶĚĞƌ&ĞĚĞƌĂů
          ZƵůĞŽĨŝǀŝůWƌŽĐĞĚƵƌĞϭϭ͘dŚĞƌĞĨŽƌĞ͕ǇŽƵĂƌĞƌĞƐƉŽŶƐŝďůĞĨŽƌƉƌŽƚĞĐƟŶŐĂŶĚƐĞĐƵƌŝŶŐƚŚŝƐƉĂƐƐǁŽƌĚ
          against unauthorized use.

       3. /ĨǇŽƵŚĂǀĞĂŶǇƌĞĂƐŽŶƚŽƐƵƐƉĞĐƚƚŚĂƚǇŽƵƌƉĂƐƐǁŽƌĚŚĂƐďĞĞŶĐŽŵƉƌŽŵŝƐĞĚŝŶĂŶǇǁĂǇ͕ǇŽƵĂƌĞ
          ƌĞƐƉŽŶƐŝďůĞĨŽƌŝŵŵĞĚŝĂƚĞůǇŶŽƟĨǇŝŶŐƚŚĞĐŽƵƌƚ͘DĞŵďĞƌƐŽĨƚŚĞĐŽƵƌƚΖƐƐǇƐƚĞŵƐƐƚĂīǁŝůůĂƐƐĞƐƐƚŚĞƌŝƐŬ
          and advise you accordingly.

       4. ǇƐŝŐŶŝŶŐƚŚŝƐZĞŐŝƐƚƌĂƟŽŶ&Žƌŵ͕ǇŽƵĐŽŶƐĞŶƚƚŽƌĞĐĞŝǀĞŶŽƟĐĞĞůĞĐƚƌŽŶŝĐĂůůǇ͕ĂŶĚƚŽǁĂŝǀĞǇŽƵƌƌŝŐŚƚƚŽ
          ƌĞĐĞŝǀĞŶŽƟĐĞďǇƉĞƌƐŽŶĂůƐĞƌǀŝĐĞŽƌĮƌƐƚĐůĂƐƐŵĂŝůƉƵƌƐƵĂŶƚƚŽ&ĞĚĞƌĂůZƵůĞŽĨŝǀŝůWƌŽĐĞĚƵƌĞϱ;ďͿ;ϮͿ;Ϳ͕
          ĞǆĐĞƉƚǁŝƚŚƌĞŐĂƌĚƚŽƐĞƌǀŝĐĞŽĨĂĐŽŵƉůĂŝŶƚĂŶĚƐƵŵŵŽŶƐ͘dŚŝƐƉƌŽǀŝƐŝŽŶĚŽĞƐŝŶĐůƵĚĞĞůĞĐƚƌŽŶŝĐŶŽƟĐĞŽĨ
          the entry of an order or judgment.

       ϱ͘ zŽƵǁŝůůĐŽŶƟŶƵĞƚŽĂĐĐĞƐƐĐŽƵƌƚŝŶĨŽƌŵĂƟŽŶǀŝĂƚŚĞtĞƐƚĞƌŶŝƐƚƌŝĐƚŽĨtĂƐŚŝŶŐƚŽŶΖƐŝŶƚĞƌŶĞƚƐŝƚĞŽƌ
           ƚŚƌŽƵŐŚƚŚĞWƵďůŝĐĐĐĞƐƐƚŽŽƵƌƚůĞĐƚƌŽŶŝĐZĞĐŽƌĚƐ;WZͿƐǇƐƚĞŵ͘zŽƵǁŝůůĐŽŶƟŶƵĞƚŽŶĞĞĚĂWZ
           ůŽŐŝŶ͕ŝŶĂĚĚŝƟŽŶƚŽƚŚĞĐŽƵƌƚͲŝƐƐƵĞĚƉĂƐƐǁŽƌĚ͘zŽƵĐĂŶƌĞŐŝƐƚĞƌĨŽƌWZĂƚƚŚĞŝƌǁĞďƐŝƚĞ͗ŚƩƉ͗ͬͬƉĂĐĞƌ͘
           psc.uscourts.gov.

       6. ǇƚŚŝƐƌĞŐŝƐƚƌĂƟŽŶ͕ƚŚĞƵŶĚĞƌƐŝŐŶĞĚĂŐƌĞĞƐƚŽĂďŝĚĞďǇƚŚĞƌƵůĞƐĂŶĚƌĞŐƵůĂƟŽŶƐŝŶƚŚĞŵŽƐƚƌĞĐĞŶƚ
          'ĞŶĞƌĂůKƌĚĞƌ͕ƚŚĞůĞĐƚƌŽŶŝĐ&ŝůŝŶŐWƌŽĐĞĚƵƌĞƐĚĞǀĞůŽƉĞĚďǇƚŚĞůĞƌŬΖƐKĸĐĞ͕ĂŶĚĂŶǇĐŚĂŶŐĞƐŽƌ
          ĂĚĚŝƟŽŶƐƚŚĂƚŵĂǇďĞŵĂĚĞƚŽƐƵĐŚĂĚŵŝŶŝƐƚƌĂƟǀĞƉƌŽĐĞĚƵƌĞƐŝŶƚŚĞĨƵƚƵƌĞ͘

                               04/17/2019                                 James J. Pizzirusso
             Date Signed                                 Signature s/
                                                                          ;WƌŽ,ĂĐsŝĐĞĂƉƉůŝĐĂŶƚŶĂŵĞͿ




ttͲƉƉůŝĐĂƟŽŶĨŽƌ>ĞĂǀĞƚŽƉƉĞĂƌWƌŽ,ĂĐsŝĐĞ;ZĞǀŝƐĞĚϭϭͬϮϭͬϮϬϭϳͿ   Page - 3 of 3
